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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                      24-cr-542 (AS)
        v.

 SEAN COMBS,

                          Defendant.


               DECLARATION OF MARC A. AGNIFILO IN SUPPORT OF
                        RENEWED MOTION FOR BAIL

       I, Marc A. Agnifilo, declare as follows:

       1.      I am a partner at Agnifilo Intrater LLP, counsel for Sean Combs. I am licensed

and in good standing to practice law in the State of New York and I am also admitted to the

United States District Court for the Southern District of New York.

       2.      The declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of Mr. Combs’ Renewed Motion For Bail.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of

                                                                                       , and

produced by the government as “USAO_00314095 - Combs - LA - 0020 - iPhone 13 - yellow

case” with an “Attorney’s Possession Only” designation pursuant to the protective order.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of

                                                                                       , and

produced by the government as “USAO_00003030” with an “Attorney’s Possession Only”

designation pursuant to the protective order.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of

                                                                                       , and
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produced by the government as “USAO_00314095 – Combs – LA – 0020 – iPhone 13 – yellow

case” with an “Attorney’s Possession Only” designation pursuant to the protective order.

         6.     Attached hereto as Exhibit 4 is a true and correct copy of

                                                                                        , and

produced by the government as “USAO_00314095 – Combs – LA – 0020 – iPhone 13 – yellow

case” with an “Attorney’s Possession Only” designation pursuant to the protective order.

         7.     Attached hereto as Exhibit 5 is a true and correct copy of

                                                                                        , and

produced by the government as “USAO_00003030” with an “Attorney’s Possession Only”

designation pursuant to the protective order.

         8.     A                                                and produced by the government

as “USAO_00001729-USAO_00001797” contains




                          See USAO_00001780.

         9.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          November 8, 2024
                New York, NY

                                                             _________________
                                                             Marc Agnifilo, Esq.



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